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AO 83 (Rev. 06/09) Summons in a Criminal Case

   

UNITED STATES DISTRICT COURT | L - -
District of New Mexico — LAJED STATES
DSTRCT OF ME

19 FEB 28 PH 3: 97
Case No. OGL EPRARPRRSGE ROP RS

UNITED STATES OF AMERICA
V.

Derek Chavez

 

eh

Defendant

SUMMONS IN A CRIMINAL CASE

YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

Cl Indictment CO Superseding Indictment OC) Information (1 Superseding Information CJ Complaint
C1 Probation Violation Petition | Supervised Release Violation Petition © Violation Notice (1 Order of Court

 

 

 

 

 

Place: United States District Court Courtroom No.: 320 Rio Grande, 3rd Floor
333 Lomas Blvd. NW
Albuquerque, NM 87102 - | Date and Time: March 7, 2019, 9:30 AM
Before the Honorable Judge Ritter

 

This offense is briefly described as follows:
The defendant tested positive on two occasions for Suboxone.

Date: _2/21/2019 oun by MAM |e

Issuing officer’s signature ye Copy

y WY

 

 

 

 

I declare under penalty of perjury that I have:

£+Fxecuted and returned this summons © Returned this summons unexecuted

Date: 2, Jas / 19 Aut) Tlincine,

Server's signature O

Anthes Nevarez. put KS Macshe, |

Printed name and title

 
